                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

         v.                                         Case No. 16-00183-07-CR-W-BP

 CLIFFORD JAUSHLIN,

                                Defendant.

                     GOVERNMENT’S RESPONSE TO DEFENDANT’S
                      MOTION FOR RECONSIDERATION OF BOND

       Defendant Clifford Jaushlin moves for reconsideration of this Court’s Order of Detention

based on the belief that there are now conditions or a combination of conditions that will

reasonably assure the defendant’s appearance and the safety of the community.      (D.E. 239.)

       The Court notes that Mr. Jaushlin has had his pre-trial release revoked two times over the

course of this case, the last revocation being October 18, 2017 wherein the defendant was ordered

to undergo a psychiatric exam by the Bureau of Prisons (BOP).      (D.E. 131.)

       Counsel is correct to point out this defendant, if he elects to plead, may wind up serving

close to the time the guidelines may recommend.       A possible plea agreement is being discussed

by the parties that may resolve the issues of this case.

       Defendant also seems to be suffering some physical impairments, which keeps him

wheelchair bound. (Doc. 239 at page 2.)

                                    I.       Procedural History

       On June 7, 2016, Defendant Jaushlin was charged in a multi-count Indictment, charging

him only with Count One, conspiracy to distribute marijuana.        (D.E. 1.)    On June 14, 2016,

Jaushlin appeared for his initial appearance (D.E. 25.)      On June 20, 2016, the Court held a




          Case 4:16-cr-00183-BP Document 240 Filed 09/27/19 Page 1 of 4
detention hearing and overruled the government’s motion to detain Jaushlin and set conditions of

release. (D.E. 34.)

       On March 1, 2017, the Court held a show cause hearing for violations of his conditions of

release and subsequently revoked his bond. (D.E. 86.) On April 10. 2017 the court revoked his

bond. (D.E.100.)

       On July 27, 2017, Jaushlin filed a Motion for Reconsideration (D.E. 116).       On August 4,

2017, the Court sustained the motion and set conditions of bond for Mr. Jaushlin. (D.E. 130.)

       On October 18, 2017, another show cause hearing was held regarding new violations of

conditions of release and Jaushlin’s bond was revoked. (D.E. 129, 131.)

       On February 21, 2018, November 28, 2018, and July 16, 2019 psychiatric reports were

submitted to the court. (D.E. 146, 203, 229.)

       On September 19, 2019, Jaushlin filed this instant Motion for Reconsideration (D.E. 239).

This case is currently set on the October 28, 2019, trial docket.

                                         II.    Argument

       In its October 19, 2017 Order, the Court noted defendant Jaushlin had indeed violated his

conditions of release, revoked his bond, and ordered a psychiatric evaluation. (D.E. 131.) As

noted above, there have now been three (3) separate psychiatric reports filed before the court. The

court has entered a report and recommendation, accepting the latest report of defendant Jaushlin’s

competency to proceed.     (D.E. 236.)

       The defendant has been in custody for close to 24 months, pending trial in this case. As he

is competent to proceed and the parties are working out a potential plea agreement, the government

believes that defendant Jaushlin may be ready to be released on bond again.      Obviously there is

a potential risk that defendant Jaushlin may not satisfy his conditions of release yet again, however



                                                 2

          Case 4:16-cr-00183-BP Document 240 Filed 09/27/19 Page 2 of 4
that risk may be mitigated by the potential plea agreement which the parties believe may resolve

the trial issues in this case and a guideline sentence may be close to the time he’s already served

awaiting his return to competency.

                                       III.    Conclusion

       For the above reasons, the United States respectfully requests that the Court sustain this

motion for bond reconsideration.

                                                       Respectfully submitted,

                                                       Timothy A. Garrison
                                                       United States Attorney

                                              By       /s/ Joseph M. Marquez

                                                       Joseph M. Marquez
                                                       Assistant United States Attorney
                                                       Narcotics & Violent Crimes Unit
                                                       Charles Evans Whittaker Courthouse
                                                       400 East Ninth Street, Suite 5510
                                                       Kansas City, Missouri 64106
                                                       Telephone: (816) 426-3122




                                                   3

          Case 4:16-cr-00183-BP Document 240 Filed 09/27/19 Page 3 of 4
                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on September
27, 2019, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                                   /s/ Joseph M. Marquez
                                                   Joseph M. Marquez
                                                   Assistant United States Attorney




                                              4

         Case 4:16-cr-00183-BP Document 240 Filed 09/27/19 Page 4 of 4
